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Nlichaef O'Conr\eli <michaef.oconneif@painmd.com>

 

 

kate

2 messages

 

carmenoshea@comcast.net <carmenoshea@comcast.net> Thu, Dec 2, 2010 at 4:53 P|VE
To: michaei.ooonnel|@painmd.com

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rsr
z ritz/lump I\/! I dorr"r Wha‘c to be around kate anymore ehe'e epreading lots of bad rumors and l fifp;)iog
: over it . C

 

Nlichael O'Connell <mic_hael.oconneit@painmd.com> Thu, Dec 2, 2010 at 5:52 PN!
To: oarmenoshea@oomcasf.rret

Do you mean Kaity Hudson? l am sure we can arrange for others to Wori< in your room rather §han her. And
remember you oon't have to listen :)

On Thu, Deo 2, 2010 at 4153 P|VL <Carmenoshea@comoast.net> Wrote:

_` l\/i l don*t What to be around kate anymore she'e Spreadirrg §oics of bad rumors and 1
j fiipping over it . C

 

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